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 1 AVENATTI & ASSOCIATES, APC
   Michael J. Avenatti, State Bar No. 206929
 2 Ahmed Ibrahim, State Bar No. 238739
   520 Newport Center Drive, Suite 1400
 3 Newport Beach, CA 92660
   Telephone: 949.706.7000
 4 Facsimile: 949.706.7050

 5   Attorneys for Plaintiff Stephanie Clifford
     a.k.a. Stormy Daniels a.k.a. Peggy Peterson
 6

 7

 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10

11 STEPHANIE CLIFFORD a.k.a.                       CASE NO.: 2:18-cv-02217-SJO-FFM
   STORMY DANIELS a.k.a. PEGGY
12 PETERSON, an individual,
                                                   PLAINTIFF STEPHANIE
13                      Plaintiff,                 CLIFFORD’S COMBINED
14                                                 OPPOSITION TO MOTIONS TO
           vs.
                                                   DISMISS FOR LACK OF SUBJECT
15                                                 MATTER JURISDICTION FILED
   DONALD J. TRUMP a.k.a. DAVID                    BY DEFENDANTS DONALD J.
16 DENNISON, an individual, ESSENTIAL
   CONSULTANTS, LLC, a Delaware                    TRUMP AND ESSENTIAL
17 Limited Liability Company, MICHAEL              CONSULTANTS LLC
   COHEN and DOES 1 through 10,
18 inclusive,
19
                        Defendants.
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     PLAINTIFF’S COMBINED OPPOSITION TO MOTIONS TO DISMISS RE: SUBJECT MATTER JURISDICTION
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 1   I.    INTRODUCTION
 2         Plaintiff Stephanie Clifford (“Plaintiff” or “Ms. Clifford”) files this Combined
 3   Opposition to the Motions to Dismiss for Lack of Subject Matter Jurisdiction filed by
 4   Defendants Donald J. Trump (“Mr. Trump”) and Essential Consultants, LLC (“EC”)
 5   (collectively, “Defendants”). Defendants’ sudden desire to escape having to defend this
 6   action without any meaningful consequence reflects a troubling reality – that Defendants
 7   have been deceiving this Court and the American public for more than six months.
 8   Having spent months threatening to make Ms. Clifford pay millions of dollars for breach
 9   of the terms of the non-disclosure and settlement agreement at issue here in an attempt to
10   intimidate her into silence, Defendants cannot now simply walk away and claim that the
11   agreement was never a binding contract to begin with in order to moot Plaintiff’s claims
12   and avoid an otherwise unfavorable result. Defendants’ argument that Plaintiff’s claims
13   are moot must be denied for at least the following reasons:
14         First, under the holding of Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663 (2016),
15   Defendants cannot moot Plaintiff’s claims through covenants not to sue that amount to
16   settlement offers. Because Plaintiff has never accepted these offers, her claims are not
17   moot. The case law relied upon by Defendants predates the decision in Campbell and
18   therefore fails to account for its holding. In fact, the authority cited by Defendants for the
19   proposition that a covenant not to sue may moot a plaintiff’s claims arises out of patent
20   law. This is not a patent case.
21         Second, Defendants have not conceded that the subject agreement is an illegal
22   contract and void as contrary to public policy. This is significant for several reasons. In
23   arguing that Plaintiff’s claims are moot because they are now willing to concede that the
24   contract may either be rescinded or was never formed in the first place, Defendants are
25   attempting to improperly force her to accept their chosen remedies. Plaintiff has a right to
26   pursue her preferred remedy - a declaration that the agreement is illegal - and decide
27   which remedy she will ultimately accept at the time of judgment.                Moreover, a
28   determination that the agreement is illegal is of paramount significance because it means
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 1   that Plaintiff will not be required to return the $130,000 payment she received. See Fong
 2   v. Miller, 105 Cal. App. 2d 411, 413–14 (1951).
 3         Third, EC’s argument that Plaintiff has requested rescission as a remedy is
 4   meritless. Plaintiff does not request rescission in her complaint and EC cannot rescind an
 5   illegal contract and then demand the $130,000 be returned to him. Indeed, EC explicitly
 6   reserves the right to seek to recover the $130,000. This alone establishes that Plaintiff’s
 7   claims are not moot as Plaintiff has a concrete interest in the outcome of the action and
 8   that the Court can award meaningful relief. Campbell, 136 S. Ct. at 669.
 9         Fourth, the statements and conduct of Mr. Trump and his surrogates over the past
10   eight months demonstrate why declaratory relief is in fact necessary. In fact, even after
11   Mr. Trump’s attorneys took the position Plaintiff’s claims were moot by virtue of the
12   covenant not to sue, Mr. Trump again threatened Plaintiff with further legal action. The
13   Court cannot credit a covenant not to sue by Mr. Trump’s counsel1 when Mr. Trump
14   himself continues to threaten Ms. Clifford with litigation.
15         Finally, regardless of whether the declaratory relief portion of this action is moot,
16   the Court still has jurisdiction to award attorneys’ fees. Thus, regardless of the outcome
17   of the presently pending motions, Plaintiff is entitled to seek to recover her attorneys’ fees
18   and costs, and the Court has jurisdiction to consider that request.
19   II.   FACTUAL BACKGROUND
20         A.     The Settlement and Non-Disclosure Agreement.
21         This case centers primarily on a settlement and non-disclosure agreement which
22   violated federal campaign finance laws through the payment of hush money to Plaintiff to
23   cover up an extramarital affair from American voters in order to influence the 2016
24   election for President of the United States.   The   agreement        at   issue   is   entitled
25   “Confidential Settlement Agreement and Mutual Release; Assignment of Copyright and
26   Non-Disparagment [sic] Agreement” (hereafter, the “Settlement Agreement” or
27
     1
      The lack of a covenant not to sue signed by Mr. Trump is yet another reason why the
28   motion must fail.
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 1   “Agreement”).      [Declaration of Michael Avenatti (“Avenatti”), Ex. A (hereafter, the
 2   “Agreement”).] The Agreement is stated as being made “by and between ‘EC, LLC’
 3   and/or DAVID DENNISON, (DD), on the one part, and PEGGY PETERSON, (PP), on
 4   the other part.” [Id. at ¶1.1.] DD is presumed to refer to Mr. Trump.
 5          As the language of the Agreement makes clear, only “DD” (i.e., Mr. Trump) has the
 6   ability to enforce various substantive provisions of the Agreement, such as recovery of
 7   damages and compelling arbitration.        [See Agreement, ¶¶5.1-5.1.]      In addition, the
 8   Agreement imposes several obligations on Mr. Trump, such as providing Plaintiff a
 9   release for certain claims and providing certain representations and warranties.
10   [Agreement, ¶¶2.2, 2.5, 2.6, 4.3, 6.1.] Further, all duties Plaintiff was contemplated to
11   owe under the Agreement extended only from Plaintiff to Mr. Trump. [Agreement, ¶¶3.1,
12   3.2, 3.3, 4.3.2, 4.3.6.]
13          The Settlement Agreement contains an attorneys’ fees clause that is directly
14   applicable to this action.
15               Attorneys’ Fees in the case of a Dispute. In the event of any dispute, action,
16               proceeding or controversy regarding the existence, validity, interpretation,
                 performance, enforcement, claimed breach or threatened breach of this
17               Agreement, the prevailing party in any resulting arbitration proceeding and/or
18               court proceeding shall be entitled to recover as an element of such Party's costs
                 of suit, and not as damages, all attorneys’ fees, costs and expenses incurred or
19               sustained by such prevailing Party in connection with such action, including,
20               without limitation, legal fees and costs.
21   [Agreement, ¶8.2 (emphasis added).]
22          B.      The Arbitration and Plaintiff’s Lawsuit.

23          Beginning in February of 2018, Michael Cohen and Mr. Trump, along with their

24   attorneys and surrogates, instituted a coordinated campaign to intimidate and bully Ms.

25   Clifford into silence. Mr. Cohen, joined by Mr. Trump’s in-house lawyer from the Trump

26   Organization (Jill Martin), filed an arbitration action in California claiming Ms. Clifford

27   violated the Settlement Agreement and would be liable to pay damages. [Avenatti, Ex.

28   B.]

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 1         On February 27, 2018, Mr. Cohen, through his company EC, convinced a retired
 2   judge and arbitrator to issue a broad and sweeping restraining order directed to Ms.
 3   Clifford.   [Avenatti, Ex. C.]   Shortly thereafter, Mr. Trump’s White House quickly
 4   claimed victory, boasting that the arbitration had already been won. [Id., Ex. D.]
 5         On March 6, Plaintiff filed this action in California state court. [Dkt 1 at Ex. 1.]
 6   On March 16, EC filed a Notice of Removal to remove this action to this Court in which
 7   Mr. Trump joined. [Dkts 1, 5.] On March 26, Plaintiff filed a First Amended Complaint
 8   (the “FAC”). [Dkt 14.] Plaintiff sought several forms of relief, including, among other
 9   things, a judgment declaring that (1) the Settlement Agreement was never formed; (2) the
10   Settlement Agreement is void ab initio because it is illegal on the ground that it was
11   entered with the illegal aim, design, and purpose of circumventing federal campaign
12   finance law; and (3) the Settlement Agreement is void because it violates public policy by
13   suppressing speech on a matter of public concern about a candidate for President of the
14   United States, mere weeks before the election. [Dkt 14, ¶¶41, 44-54.]
15         C.     Both Mr. Trump and EC Have Actively Pursued Enforcement of the
                  Settlement Agreement and Vigorously Contested this Lawsuit.
16
           As noted above, EC filed a Notice of Removal in this action on March 16. [Dkt 1.]
17
     Importantly, Mr. Trump joined the Notice of Removal. [Dkt 5.] By doing so, he joined
18
     with the following statement: “EC and/or Defendant Trump have the right to seek
19
     liquidated damages against Clifford for her numerous breaches in an amount to be proven
20
     with certainty at the Pending Arbitration Proceeding, but which is approximated to already
21
     be in excess of twenty million dollars ($20,000,000).” [Dkt 1 at 5:12-16.]
22
           In his joinder, Mr. Trump also stated: “Defendant Donald J. Trump hereby joins in
23
     defendant Essential Consultants, LLC’s (‘EC’) Notice of Removal to this Court of the
24
     state court action described in said Notice of Removal. . . . Mr. Trump intends to pursue
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     his rights to the fullest extent permitted by law.” [Dkt 5 at 2:13.] (emphasis added).
26
           Indeed, both Mr. Trump and EC were so confident that the Settlement Agreement
27
     was formed, was valid, and was enforceable, that they elected to jointly prosecute a
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 1   motion to compel arbitration in this Court—a motion EC filed and in which Mr. Trump
 2   joined. [Dkts 20, 21.] On March 21, in the meet and confer discussion regarding the
 3   motion to compel arbitration, Plaintiff’s counsel asked Mr. Trump’s counsel, Charles
 4   Harder, whether Mr. Trump was a party to the Settlement Agreement. [Avenatti, ¶6.] Mr.
 5   Harder did not answer the question. [Id.] Plaintiff’s counsel asked the same question in
 6   e-mails between March 21 and March 30. [Id., ¶6, Exs. E, F and G.] Mr. Harder again
 7   provided no response. [Id.]
 8         Mr. Harder and his client’s answer confirming their position that Mr. Trump was
 9   absolutely entitled to enforce the Settlement Agreement ultimately came on April 2 when
10   Mr. Trump formally joined in EC’s motion to compel arbitration. [Dkt 21.] In the
11   pleading, Mr. Trump advised the Court as follows: “Defendant Donald J. Trump hereby
12   joins in [EC’s] Motion to Compel Arbitration and consents to arbitration of the claims
13   against him and EC in this matter.” [Dkt 21 at 1:1-3 (emphasis added).] Confirming
14   the motion to compel arbitration was being prosecuted by both Mr. Trump and EC, in a
15   later joint filing, Mr. Trump and EC described the motion as “their pending Motion to
16   Compel Arbitration.” [Dkt 57 at 13:21 (emphasis added).]
17         In fact, as recently as August 27, both Mr. Trump and EC stated the following in a
18   joint filing to the Court: “As detailed more fully in EC’s currently-pending Motion to
19   Compel Arbitration . . . , in which Mr. Trump has joined, the Settlement Agreement
20   constitutes a valid agreement to arbitrate.” [Dkt 75 at 4:21-22.]
21         As further evidence Mr. Trump was pursuing rights under the Settlement
22   Agreement, Mr. Trump also asserted: “Plaintiff’s defamation claim against Mr. Trump
23   falls squarely within the arbitration provision at issue in this case[.]” [Dkt No. 57 at 4:6-
24   7.]
25         D.     Mr. Trump’s Aggressive Public Stance Against Plaintiff Affirmed His
                  Pursuit of Remedies Under the Agreement.
26
           Augmenting their legal filings, to the American public, both Mr. Trump and Mr.
27
     Cohen waged a forceful public relations campaign to discredit and bully Ms. Clifford. On
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 1   May 3, Mr. Trump tweeted to his 50-million plus followers that the Settlement Agreement
 2   “is in full force and effect” and “will be used in Arbitration for damages against Ms.
 3   Clifford (Daniels).” [Avenatti, Ex. H.] He called Ms. Clifford’s allegations against him
 4   “false and extortionist.” [Id.]
 5         His lawyer Rudy Giuliani lodged deplorable and sexist insults directed to Ms.
 6   Clifford, stating: “I’m sorry I don't respect a porn star the way I respect a career woman
 7   or a woman of substance or a woman who has great respect for herself as a woman and as
 8   a person and isn’t going to sell her body for sexual exploitation,” adding that “the business
 9   you’re in entitles you to no degree of giving your credibility any weight. . . . I mean, she
10   has no reputation. If you're going to sell your body for money, you just don’t have a
11   reputation.” [Avenatti, Ex. I.]
12         Mr. Cohen promised that he would “take an extended vacation on [Ms. Clifford’s]
13   dime” with the money he would collect from her in enforcing the Settlement Agreement.
14   [Avenatti, Ex. J.] He then had his surrogate David Schwartz appear multiple times on
15   television to claim the agreement was valid and that Plaintiff would be paying millions of
16   dollars in damages. [Id., Exs. K and L.]
17         This intimidation campaign was accompanied by serial misrepresentations to the
18   press and the public. Mr. Cohen began by lying to the American public that he did the
19   deal on his own and paid the $130,000 out of his own pocket. [Avenatti Decl., Ex. M.]
20         On April 5, Mr. Trump, on Air Force One, stated unequivocally that he knew
21   nothing about the Agreement or the payment. [Avenatti, Ex. N.] This was also a lie. Mr.
22   Trump was later contradicted by his own lawyer, Mr. Giuliani, who revealed to Sean
23   Hannity and Fox & Friends in early May that Mr. Trump reimbursed the $130,000.
24   [Avenatti, Exs. O and P.] Mr. Trump on May 16 also admitted he reimbursed Mr. Cohen
25   in a disclosure to the United States Office of Government Ethics. [Id., Ex. Q.]
26         E.     Mr. Cohen’s Admission to Campaign Finance Crimes Proves Mr.
                  Trump and His Lawyer Rudy Giuliani Have Been Lying.
27
           Mr. Trump’s lawyer Rudy Giuliani repeatedly claimed that no campaign money
28

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 1   was involved in any payment made to Plaintiff, there were no campaign violations, and
 2   that the Agreement and $130,000 payment had nothing to do with them. [Avenatti, Exs.
 3   O and P.]
 4          However, those representations have now been shown to be false by Mr. Cohen’s
 5   guilty plea by which he directly implicates Mr. Trump in the crime. On August 21, 2018,
 6   Mr. Cohen pled guilty to various federal crimes, including campaign finance law
 7   violations. [Avenatti, Ex. R (Plea Agreement) at 1-2; Ex. S (USA v. Cohen, No. 1:18-cr-
 8   00602-WHP (S.D.N.Y), Information) at 14-16, 19.] According to Mr. Cohen, he was not
 9   acting alone; Mr. Trump was also involved. [Id., Ex. T at 23:15-25.] Specifically, at the
10   plea hearing, Mr. Cohen admitted, under oath, that:
11               [O]n or about October of 2016, in coordination with, and at the direction of, [a
12               candidate for federal office (referring to Mr. Trump)], I arranged to make a
                 payment to a second individual with information that would be harmful to the
13               candidate and to the campaign to keep the individual from disclosing the
14               information. To accomplish this, I used a company that was under my control to
                 make a payment in the sum of $130,000. The monies I advanced through my
15               company were later repaid to me by the candidate. I participated in this conduct,
16               which on my part took place in Manhattan, for the principal purpose of
                 influencing the election.
17
     [Avenatti, Ex. T at 23:15-25 (emphasis added).]
18
     III.   LEGAL STANDARD
19
            In declaratory relief actions, for the purposes of Article III, there is subject matter
20
     jurisdiction so long as “the facts alleged, under all the circumstances, show that there is a
21
     substantial controversy, between parties having adverse legal interests, of sufficient
22
     immediacy and reality to warrant the issuance of a declaratory judgment.” MedImmune,
23
     Inc. v. Genentech, Inc., 549 U.S. 118, 127 (2007). Defendants bear a “heavy burden” of
24
     persuading the Court of the mootness of the controversy. Friends of the Earth, Inc. v.
25
     Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 189 (2000). While it is possible, as
26
     Defendants contend, for intervening circumstances to moot an action, a case becomes
27
     moot “only when it is impossible for a court to grant any effectual relief whatever to the
28
     prevailing party.” Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 669 (2016). “As long
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 1   as the parties have a concrete interest, however small, in the outcome of the litigation, the
 2   case is not moot.” Id. (emphasis added). “It is well settled that ‘a defendant’s voluntary
 3   cessation of a challenged practice does not deprive a federal court of its power to
 4   determine the legality of the practice.’” Friends of the Earth, 528 U.S. 167, 189
 5   (2000). In such cases, a case will only become moot if it is “absolutely clear that the
 6   allegedly wrongful behavior could not reasonably be expected to recur.” Id.; see also
 7   Logan v. U.S. Bank Nat. Ass’n, 722 F.3d 1163, 1166 (9th Cir. 2013).
 8   IV.   ARGUMENT
 9         A.     Defendants’ Rejected Settlement Offers Do Not Moot Plaintiff’s Claims.
10         Defendants’ communications are not a serious concession of responsibility and
11   liability, but instead must be viewed as mere settlement offers. Accordingly, they fail to
12   moot this case. Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 672 (2016). In Campbell,
13   the defendant attempted to moot the plaintiff’s case by extending a Rule 68 offer of
14   judgment offering to pay all of his damages. Like Defendants here, the defendant also
15   sought to avoid having to make an admission of guilt and “proposed a stipulated
16   injunction in which it agreed to be barred from sending text messages in violation of the
17   TCPA.”     Id. at 668.     “The proposed injunction, however, denied liability and the
18   allegations made in the complaint, and disclaimed the existence of grounds for the
19   imposition of an injunction.”       Id.   The plaintiff rejected the offer and, similar to
20   Defendants here, the defendant argued the case should be dismissed as moot because it
21   offered the plaintiff all he was entitled to recover in the case.
22         The Supreme Court rejected this argument. It held that “an unaccepted settlement
23   offer or offer of judgment does not moot a plaintiff’s case.” Id. at 672. The Court
24   explained that “[u]nder basic principles of contract law, [the defendant’s] settlement bid
25   and Rule 68 offer of judgment, once rejected, had no continuing efficacy.” Id. at 670-71.
26   “Absent [the plaintiff’s] acceptance, [the defendant’s] settlement offer remained only a
27   proposal, binding neither [the defendant] nor [the plaintiff].” Id.
28         The authority Defendants cite predates Campbell and calls into question its

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 1   continuing validity. Defendants’ failure to distinguish this precedent after already being
 2   on notice that Plaintiff would rely on it [Dkt. 81 at 4] only further demonstrates its holding
 3   applies here. See BCL-Equip. Leasing LLC v. Tom Spensley Trucking, Inc., No. 16-CV-
 4   007-JDP, 2016 WL 1064660, at *2 (W.D. Wis. Mar. 17, 2016) (that “Defendants do not
 5   bother to distinguish [Campbell] in their reply (after [Plaintiff] brought it to their attention
 6   in its opposition)” was further evidence the case was applicable).
 7         Following Campbell, numerous courts have found that attempts by defendants to do
 8   more than making an offer by actually attempting to give plaintiffs all of the relief
 9   requested will not moot a case if the plaintiff rejects the offer. See, e.g., Family Med.
10   Pharmacy, LLC v. Perfumania Holdings, Inc., No. CV 15-0563-WS-C, 2016 WL
11   3676601, at *4 (S.D. Ala. July 5, 2016) (sending cashier’s check that would fully
12   compensate plaintiff would not moot case); Ung v. Universal Acceptance Corp., 190 F.
13   Supp. 3d 855, 860 (D. Minn. 2016) (claims not mooted by fully compensating plaintiff
14   with a check failed because “there is no principled difference between a plaintiff rejecting
15   a tender of payment and an offer of payment”); Practice Mgmt. Support Servs., Inc. v.
16   Cirque du Soleil Inc., No. 14 C 2032, 2016 WL 5720381, at *4 (N.D. Ill. Sept. 30, 2016)
17   (depositing sufficient funds to satisfy claims would not moot case). This is true even
18   when the defendant voluntarily performs or assents to the injunction requested. See
19   Edwards v. Oportun, Inc., 193 F. Supp. 3d 1096, 1099 (N.D. Cal. 2016) (although
20   defendant voluntarily followed requested injunction and unconditionally tendered
21   payment, “absent this Court ordering the requested injunctive relief and entering judgment
22   on Plaintiff’s individual claims, they are not moot”); Bais Yaakov of Spring Valley v.
23   Graduation Source, LLC, 167 F. Supp. 3d 582, 584 (S.D.N.Y. 2016) (“[D]epositing the
24   full amount of statutory damages into the Court’s Finance Unit and assenting to the
25   injunctive relief requested by Plaintiff in its Complaint” not sufficient).
26         Significantly, although Campbell involved a putative class action, its holding is not
27   limited to class actions and a significant number of courts have applied the Supreme
28   Court’s holding outside that context. See Cortes v. Mako Sec., Inc., 253 F. Supp. 3d 511,
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 1   513 (E.D.N.Y. 2017) (rejecting mootness argument even though defendant had offered
 2   plaintiff more than he was entitled to for his claim); BCL-Equip. Leasing LLC 2016 WL
 3   1064660, at *2 (rejecting argument that offer of judgment could moot a breach of lease
 4   action); Harry & Jeanette Weinberg Found., Inc. v. St. Marks Ave., LLC, No. CV GLR-
 5   15-3525, 2016 WL 2865363, at *3 (D. Md. May 16, 2016) (unaccepted settlement offer
 6   could not moot Lanham Act claim); Evey v. Creative Door & Millwork, LLC, No.
 7   215CV441FTM29MRM, 2016 WL 1321597, at *6 (M.D. Fla. Apr. 5, 2016) (“Even if
 8   defendants’ offer satisfied all of plaintiff's demands, plaintiff rejected the offer and thus,
 9   his claims still give rise to a live case or controversy”); Martelack v. Toys R US, No. CV
10   13-7098 (RBK/KMW), 2016 WL 762656, at *3 (D.N.J. Feb. 25, 2016) (rejected offer to
11   pay and reinstate plaintiff could not moot employment claims).
12         Because Defendants cannot moot Plaintiff’s claims under Campbell through
13   settlement offers Plaintiff has rejected, their motions must be denied.
14         B.     The Authority Relied Upon By Defendants Pertains to Patent Cases.
15         The use of a covenant not to sue in the manner Defendants attempt to use it in this
16   action finds its source in patent litigation. See MedImmune, Inc. v. Genentech, Inc., 535
17   F. Supp. 2d 1000, 1008 (C.D. Cal. 2008) (“A covenant not to sue is intended precisely to
18   moot the issue of infringement and limit the scope of an invalidity counterclaim.”). This
19   is made clear by the authority cited by Defendants. As this Court noted in U.S. Rubber,
20   the “Federal Circuit has long held that ‘a patentee defending against an action for a
21   declaratory judgment of invalidity [and unenforceability] can divest the trial court of
22   jurisdiction over the case by filing a covenant not to assert the patent at issue against the
23   putative infringer with respect to any of its past, present or future acts.’” U.S. Rubber
24   Recycling v. Encore Int’l, No. CV 09-09516 SJO OPX, 2011 WL 311014, at *3 (C.D.
25   Cal. Jan. 7, 2011) (brackets in original). Not surprisingly, in addition to U.S. Rubber, the
26   decisions cited by Defendants from this Court also involve patent claims. See Spicy Beer
27   Mix v. New Castle Beverage, No. CV 14-00720 SJO JEMX, 2014 WL 7672167, at *4-7
28   (C.D. Cal. Aug. 1, 2014); Gen. Motors Corp. v. Univ. of Rome “La Sapienza,” No.

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 1   CV0707537SJOPJWX, 2008 WL 11334169, at *2 (C.D. Cal. July 10, 2008).
 2         But this is not a patent case.         And this distinction further underscores the
 3   applicability of the Supreme Court’s more recent decision in Campbell over those cases
 4   Defendants cite.
 5         Further, even in the context of patent law, if the underlying claims here are
 6   determined to be moot (which they should not), the Court retains jurisdiction to decide the
 7   issue of attorneys’ fees. See Monsanto Co. v. Bayer Bioscience N.V., 514 F.3d 1229,
 8   1242 (Fed. Cir. 2008) (“[U]nder our precedent the district court retained independent
 9   jurisdiction over Monsanto’s request for attorney fees[.]”); Revolution Eyewear v. Aspex
10   Eyewear, No. CV035965PSGMANX, 2009 WL 10700315, at *8 (C.D. Cal. Sept. 18,
11   2009) (“Thus, although the instant covenant not to sue deprives the Court of jurisdiction
12   … the covenant does not deprive the Court of jurisdiction to consider Aspex’s request for
13   attorney’s fees[.]”). Indeed, this Court so held in U.S. Rubber, retaining jurisdiction over
14   the claim for attorneys’ fees and declaratory relief insofar as it addressed allegations of
15   inequitable conduct supporting the request for attorneys’ fees. 2011 WL 311014, at *8.
16         California law, like federal patent law, provides a statutory basis for the recovery of
17   attorneys’ fees. See Cal. Civ. Code § 1717(a) (“In any action on a contract, where the
18   contract specifically provides that attorney's fees and costs, which are incurred to enforce
19   that contract, shall be awarded either to one of the parties or to the prevailing party, then
20   the party who is determined to be the party prevailing on the contract, whether he or she is
21   the party specified in the contract or not, shall be entitled to reasonable attorney’s fees in
22   addition to other costs.”). Accordingly, as argued elsewhere herein (see section IV(F),
23   infra), even if the Court determines the declaratory relief claim to be moot, the Court
24   retains jurisdiction to consider the issue of an entitlement to attorneys’ fees.
25         C.     The Case Is Not Moot Because Defendants Have Not Conceded That the
                  Settlement Agreement is Illegal or Void as Contrary to Public Policy.
26
                  1.     Plaintiff Must Be Permitted to Choose Among Her Remedies.
27
           A party is required to elect between remedies before judgment because “only if the
28

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 1   plaintiffs’ actions cause substantial prejudice to the defendant are the plaintiffs required to
 2   make a binding election of remedies prior to judgment.” Sharpe v. F.D.I.C., 126 F.3d
 3   1147, 1153 (9th Cir. 1997). In Sharpe, the Court concluded that where the plaintiffs
 4   sought “declaratory relief as well as, alternatively, rescission or damages,” the defendant
 5   could not force plaintiffs into accepting a particular remedy through its conduct. Id.
 6         Here, Plaintiff requests alternative relief by demanding “a judgment declaring that
 7   no agreement was formed between the parties, or in the alternative, to the extent an
 8   agreement was formed, it is void, invalid, or otherwise unenforceable.” [FAC at 17.]
 9   These alternative forms of relief include a judgment declaring the Agreement void on the
10   ground that it was entered with the illegal aim, design, and purpose of circumventing
11   federal campaign finance law. [See, e.g., FAC, ¶¶44-51.] Defendants’ covenants not to
12   sue, however, do not concede this or any of the other admissions sought in the FAC. [See
13   section II(B), supra.] Plaintiff, therefore, will not obtain all of the relief she has requested.
14   Defendants propose they be permitted to choose among the remedies Plaintiff has
15   available to her. However, Defendants cite no authority permitting them to do so, and
16   Plaintiff is unaware of any. If Defendants’ position were law, then the lawsuits of
17   plaintiffs in all cases where alternative remedies have been pled would be mooted by
18   simply picking off the alternative most desirable to the defendant (e.g., agreeing to
19   specific performance for the breach of a contract instead of damages). This would be
20   contrary to modern rules permitting alternative pleading. See Fed. R. Civ. P. 8(a)(3), (d).
21                2.     A Determination of Illegality Is Necessary Because EC Continues
                         to Seek Recovery of the Payment Made to Ms. Clifford.
22
           EC explicitly reserves the right to seek to recover the $130,000 paid under the
23
     Settlement Agreement. This alone establishes that Plaintiff’s claims are not moot as
24
     Plaintiff has a concrete interest in the outcome of the action and the Court can award
25
     meaningful relief. Campbell, 136 S. Ct. at 669.
26
           When a contract is found to be illegal, no party can “recover the monies paid
27
     pursuant to the terms of the contract. It is a well settled general rule that a party to an
28

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 1   illegal contract may not obtain the aid of the courts . . . to recover any consideration parted
 2   with pursuant thereto; the law leaves the parties where it finds them.” Richardson v.
 3   Roberts, 210 Cal. App. 2d 603, 606–07 (1962). “[A] party to an illegal contract can
 4   neither recover damages for breach nor by rescinding recover the performance that he has
 5   rendered or its value.” Fong v. Miller, 105 Cal. App. 2d 411, 413–14 (1951). “[T]he
 6   guilty party to an illegal contract cannot bring an action to enforce the contract or to
 7   recover on principles of quasi contract the benefits he has conferred under it.” Bennett v.
 8   Hayes, 53 Cal. App. 3d 700, 704 (1975) (citation omitted).
 9         Here, Plaintiff has alleged that the Settlement Agreement is illegal or void as
10   contrary to public policy for a variety of reasons. [See FAC, ¶¶32-33, 44-55, 59-61.] This
11   conclusion is bolstered by Mr. Cohen’s admission to federal campaign finance crimes in
12   which he acted “in coordination with, and at the direction of,” Mr. Trump. Thus, if the
13   Settlement Agreement is determined to be illegal or otherwise void for any of the reasons
14   alleged in the FAC, Plaintiff would not be required to return the $130,000 to EC. Fong,
15   105 Cal. App. 2d at 413–14. In spite of this, EC has explicitly “demand[ed] that the full
16   consideration paid to Plaintiff, $130,000.00, be returned to Essential Consultants” in the
17   same letter containing its purported covenant not to sue. [Dkt. No. 79 at Ex. A.] Further,
18   the covenant not to sue provided by EC “reserve[s] the right to seek reimbursement for
19   the $130,000 in consideration paid to Stephanie Clifford in connection therewith.” [Id. at
20   Ex. A at 2 (emphasis added).] Accordingly, the covenants not to sue notwithstanding,
21   Plaintiff is still at risk of being sued if she does not return the $130,000. A declaratory
22   judgment that the Settlement Agreement is illegal and that Plaintiff is not required to
23   return the $130,000 is necessary and establishes that the claims at issue are not moot. See
24   Campbell, 136 S. Ct. at 669 (“As long as the parties have a concrete interest, however
25   small, in the outcome of the litigation, the case is not moot.”).
26         D.     Plaintiff Does Not Request Rescission of the Settlement Agreement.
27         Presumably in support of its intended effort to recover the $130,000 payment, EC
28   argues Plaintiff is seeking rescission of the Settlement Agreement. [Dkt. No. 88 at 7-8.]

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 1   This is not true.    The FAC does not include a demand for the specific remedy of
 2   rescission, nor is rescission mentioned anywhere in the FAC.
 3         Further, courts will not normally rescind illegal contracts. “[A] party to an illegal
 4   contract can neither recover damages for breach nor by rescinding recover the
 5   performance that he has rendered or its value.” Fong, 105 Cal. App. 2d at 413–14. One
 6   exception to this rule is that a party that is intended to be protected by the statute making
 7   the contract illegal may be able to rescind the contract. See Barry v. OC Residential
 8   Properties, LLC, 194 Cal. App. 4th 861, 870 (2011). Here, however, EC and Mr. Cohen
 9   are the perpetrators of the illegal acts, not the victims. As detailed above, the FAC
10   requests that the Court determine that the Settlement Agreement is illegal on numerous
11   grounds, all of which implicate EC, Mr. Trump, and Mr. Cohen as the parties engaged in
12   the wrongful and illegal conduct. Accordingly, EC and Mr. Cohen cannot seek refuge in
13   this rule and are not innocent victims entitled to obtain the return of this money through
14   rescission. This is consistent with the statute EC cites. See Cal. Civ. Code § 1689(b)(5)
15   (permitting rescission “[i]f the contract is unlawful for causes which do not appear in its
16   terms or conditions, and the parties are not equally at fault”).
17         Further, even if the Court found that the remedy of rescission applies, the Court
18   maintains discretion under Civil Code section 1692 to balance the equities in relation to
19   whether consideration has to be returned in light of, among other factors, the fact that Mr.
20   Trump has already received the benefit of the Settlement Agreement by preventing
21   Plaintiff from speaking prior to the 2016 election and thereby ensuring victory. Cal. Civ.
22   Code § 1692 (“If in an action or proceeding a party seeks relief based upon rescission, the
23   court may require the party to whom such relief is granted to make any compensation to
24   the other which justice may require and may otherwise in its judgment adjust the equities
25   between the parties.”) (emphasis added). Therefore, even if the Agreement is rescinded,
26   declaratory relief is still needed to determine whether Plaintiff must return the $130,000 to
27   EC and a case or controversy continues to exist. Campbell, 136 S. Ct. at 669.
28

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 1         E.      Mr. Trump’s Ongoing Threats of Litigation Establish the Continued
                   Existence of a Case or Controversy.
 2
           In spite of his request to dismiss this action and contention that Plaintiff’s claims
 3
     are moot by virtue of his purported covenant not to sue, Mr. Trump continues to threaten
 4
     Plaintiff with litigation. Accordingly, it is apparent that Plaintiff maintains a concrete
 5
     interest in the outcome of this action.
 6
           “The law is not, as [Defendants suggest], that a covenant not to sue automatically
 7
     moots a plaintiff’s claims.” Enplas Display Device Corp. v. Seoul Semiconductor Co.,
 8
     Ltd., No. 13-CV-05038 NC, 2015 WL 7874323, at *4 (N.D. Cal. Dec. 3, 2015). On the
 9
     contrary, “a factual inquiry is required, and the Court should consider the entirety of the
10
     circumstances in evaluating whether a controversy remains.” Id. Even a “direct and
11
     unequivocal statement that ‘[Defendant] has absolutely no plan whatsoever to sue
12
     [Plaintiff]’” will not necessarily render declaratory relief moot.      SanDisk Corp. v.
13
     STMicroelectronics, Inc., 480 F.3d 1372, 1382 (Fed. Cir. 2007). A “statement that [a
14
     defendant] does not intend to sue does not moot the actual controversy created by its
15
     acts,” especially when the defendant is simply using the covenant not to sue as a tactic to
16
     avoid having a declaratory judgment entered against it. Id. at 1383.
17
           Here, Mr. Trump and his surrogates have repeatedly threatened Plaintiff with
18
     damages and stated they considered Plaintiff to be bound to the terms of the Settlement
19
     Agreement and its liquidated damages provisions. In such circumstances, declaratory
20
     relief is necessary even if Mr. Trump’s counsel now attempts to claim otherwise. In this
21
     context, the covenant is simply not credible. For example, on October 16, after Mr.
22
     Trump and EC purportedly covenanted not to sue Plaintiff, Mr. Trump tweeted:
23
                Federal Judge throws out Stormy Danials [sic] lawsuit versus Trump. Trump is
24              entitled to full legal fees.” @FoxNews Great, now I can go after Horseface and
25              her 3rd rate lawyer in the Great State of Texas. She will confirm the letter she
                signed! She knows nothing about me, a total con!
26
     [Avenatti, Ex. U.] Thus, it is apparent that Mr. Trump intends to sue Ms. Clifford
27
     notwithstanding the purported covenant not to sue. And his demand that Ms. Clifford
28
     “confirm the letter she signed” appears to be a threat to either enforce the Settlement
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 1   Agreement directly or indirectly. Mr. Trump’s pronouncement that “[s]he will confirm
 2   the letter” appears to be a threat to “enforce the contract.” Alternatively, if Trump is
 3   intending to say that he will force Ms. Clifford to deny she had a relationship with him,
 4   the Settlement Agreement is the only conceivable instrument Mr. Trump may intend to
 5   use to do so. In light of Mr. Trump’s continued course of conduct, a statement by Mr.
 6   Trump’s counsel promising that he will not sue Plaintiff is inadequate to moot Plaintiff’s
 7   claim for declaratory relief.
 8         F.     Plaintiff Is Entitled to Recover Her Attorneys’ Fees.
 9         Regardless of whether the Court permits the action to continue through discovery
10   and trial, Plaintiff is obviously the prevailing party in this litigation. As such, she must be
11   awarded her attorneys’ fees and costs pursuant to paragraph 8.2 of the Settlement
12   Agreement, which provides that the prevailing party “shall be entitled to recover” all
13   “attorneys’ fees, costs and expenses incurred or sustained by such prevailing party” in the
14   event of any “dispute, action, proceeding or controversy regarding the existence, validity,
15   interpretation, performance, enforcement, claimed breach or threatened breach of this
16   Agreement[.]” [Agreement, ¶8.2 (emphasis added).]
17         Mr. Trump nevertheless insists, without citing any authority, that Plaintiff is not
18   entitled to an award of attorneys’ fees against him. EC similarly argues that “[t]he
19   rescission of the Settlement Agreement precludes Clifford from bringing a claim for
20   attorney’s fees against EC.”2 [Dkt. No. 88 at 10.] Defendants are incorrect.
21         Under California law “[i]t is now settled that a party is entitled to attorney fees
22
     2
       EC notes that neither of Plaintiff’s complaints expressly request attorneys’ fees. That is
23   irrelevant. In federal court, “[a] claim for attorney's fees and related nontaxable expenses
     must be made by motion unless the substantive law requires those fees to be proved at
24   trial as an element of damages.” Fed. R. Civ. P. 54(d)(1). Under California substantive
     law, contractual attorneys’ fees “shall be an element of the costs of suit,” not damages.
25   Cal. Civ. Code § 1717(a). Therefore, it is appropriate to consider Civil Code section
     1717(a) attorneys’ fees for the first time in a post-trial motion. See Barrientos v. 1801-
26   1825 Morton LLC, 583 F.3d 1197, 1217 (9th Cir. 2009). A request for fees does not need
     to be included in the complaint. See Riordan v. State Farm Mut. Auto. Ins. Co., 589 F.3d
27   999, 1005 (9th Cir. 2009). In any event, Plaintiff specifically requested relief in the form
     of “costs of suit” and “for such other and further relief as the Court may deem just and
28   proper.” [FAC at 17.]
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 1   under [California Civil Code] section 1717 ‘even when the party prevails on grounds the
 2   contract is inapplicable, invalid, unenforceable or nonexistent, if the other party would
 3   have been entitled to attorney’s fees had it prevailed.’” Hsu v. Abbara, 9 Cal. 4th 863,
 4   870 (1995) (quoting Bovard v. Am. Horse Enterprises, Inc., 201 Cal. App. 3d 832, 842
 5   (1988)); Douglas E. Barnhart, Inc. v. CMC Fabricators, Inc., 211 Cal. App. 4th 230, 238
 6   (2012) (party that established no contract existed was the prevailing party and entitled to
 7   attorneys’ fees under section 1717). This is because “[t]he primary purpose of section
 8   1717 is to ensure mutuality of remedy for attorney fee claims under contractual attorney
 9   fee provisions.” Douglas Barnhart, 211 Cal. App. 4th at 237. Therefore a party that
10   obtains a determination that an arbitration agreement is unenforceable is entitled to fees
11   pursuant to an attorneys’ fees provision in the agreement to arbitrate. See MBNA Am.
12   Bank, N.A. v. Gorman, 147 Cal. App. 4th Supp. 1, 8 (2006).
13         The outcome is the same for rescission. See Hastings v. Matlock, 171 Cal. App. 3d
14   826, 841 (1985) (“In an action to enforce the rescission of a written land sale agreement,
15   containing a clause for attorney’s fees which does not limit recovery of such fees to any
16   particular form of action involving the contract, the prevailing party is entitled to an award
17   of such fees.”); Star Pac. Investments, Inc. v. Oro Hills Ranch, Inc., 121 Cal. App. 3d 447,
18   463 (1981) (award of fees appropriate in rescission context); Leaf v. Phil Rauch, Inc., 47
19   Cal. App. 3d 371, 378–79 (1975).
20         “This rule serves to effectuate the purpose underlying section 1717” because
21   “[s]ection 1717 was enacted to establish mutuality of remedy where [a] contractual
22   provision makes recovery of attorney’s fees available for only one party [citations], and to
23   prevent oppressive use of one-sided attorney’s fees provisions.” Hsu, 9 Cal. 4th at 870–
24   71. “The statute would fall short of this goal of full mutuality of remedy if its benefits
25   were denied to parties who defeat contract claims by proving that they were not parties to
26   the alleged contract or that it was never formed.” Id.
27         EC cites Golden Pisces, Inc. v. Fred Wahl Marine Const., Inc., 495 F.3d 1078, 1083
28   (9th Cir. 2007), in support of its argument that Plaintiff is unable to obtain attorneys’ fees
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 1   for rescission.   Golden Pisces, however, is plainly inapplicable because it addresses
 2   admiralty law, not substantive state law. In fact, it specifically cites Hsu as an example of
 3   a scenario where a party could obtain attorneys’ fees pursuant to contract after it had
 4   established that no contract existed.    Id.   Rather, as the Ninth Circuit explained in
 5   distinguishing Hsu from the admiralty action before it, “[t]he state courts were simply
 6   construing the legislative intent behind the state reciprocity statutes at issue. No similar
 7   maritime reciprocity statute exists.” Id. (citation omitted). In this diversity case, on the
 8   other hand, Plaintiff’s entitlement to attorneys’ fees is decided under California law.
 9   Carnes v. Zamani, 488 F.3d 1057, 1059 (9th Cir. 2007).
10         Mr. Trump contends “Plaintiff and Mr. Trump are in agreement that Mr. Trump did
11   not sign the Settlement Agreement, has never taken the position that he is a party to the
12   Settlement Agreement, and has never affirmatively sought to invoke any rights under the
13   Settlement Agreement.”3 [Dkt. No. 87 at 13.] As discussed above, this is simply not true.
14   Mr. Trump has plainly attempted to enforce the arbitration clause of the Settlement
15   Agreement and receive the benefits of the Agreement. He has joined with EC in every
16   motion and legal action taken in the case, including the motion to compel arbitration. In
17   court filings, he asserted he is entitled to seek damages from Plaintiff in excess of $20
18   million and that he “intends to pursue his rights to the fullest extent permitted by law.”
19   [Dkt No. 1 at 8;15-16; Dkt No. 5 at 2:13.] He and his attorneys never disclaimed their
20   interest in enforcing the Settlement Agreement or took the position that he was not a party
21   (despite being asked and having ample opportunity to do so). To the contrary, as recently
22   as late August, Mr. Trump and EC both stated their position clearly—that “the Settlement
23   3The basis for Mr. Trump’s statement that the parties are in “agreement” was a statement
     made in a legal brief in initially opposing to Mr. Trump’s request to transfer Plaintiff’s
24   defamation claim against Mr. Trump to this Court – an opposition Plaintiff ultimately
     withdrew and stipulated to the transfer of that action to this Court. [Avenatti, Ex. V.]
25   Indeed, the statement itself was made only in the context of pointing out the patent
     disconnect between Mr. Trump’s argument that California was an appropriate forum
26   because of the existence of this litigation relating to the Settlement Agreement while at the
     same time pretending not to have anything to do with Plaintiff, the $130,000, or the
27   Agreement—all of which has now been proven to be untrue by virtue of Michael Cohen’s
     guilty plea and admission that he was acting in “coordination with, and at the direction
28   of,” Mr. Trump.
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 1   Agreement constitutes a valid agreement to arbitrate.” [Dkt No. 75 at 4:22.] These
 2   assertions of Mr. Trump are entirely consistent with what he has stated publicly—namely,
 3   that the Settlement Agreement “is in full force and effect” and “will be used in Arbitration
 4   for damages against Ms. Clifford (Daniels).” [Avenatti, Ex. H.]
 5         Moreover, naming Mr. Trump was essential to this suit—more essential than even
 6   EC— because the entire Agreement was drafted in a manner that placed all rights of
 7   enforcement in the hands of Mr. Trump as “DD.” [Agreement, ¶¶5.1, 5.2.] Having
 8   pursued enforcement of the Settlement Agreement and vigorously contested Plaintiff’s
 9   lawsuit attempting to invalidate the Agreement, Mr. Trump is now bound by the
10   attorneys’ fees clause within it. Real Prop. Servs. Corp. v. City of Pasadena, 25 Cal. App.
11   4th 375, 382 (1994) (“A party is entitled to recover its attorney fees pursuant to a
12   contractual provision only when the party would have been liable for the fees of the
13   opposing party if the opposing party had prevailed.”).
14         In fact, whether or not he was a “party” to the agreement is immaterial; California
15   courts routinely enforce contractual attorneys’ fees provisions against nonparties in
16   numerous circumstances.      See id. (third party beneficiary would have to pay fees);
17   Exarhos v. Exarhos, 159 Cal. App. 4th 898, 908 (2008) (party that had claimed it was
18   successor in interest would be required to pay attorneys’ fees); Erickson v. R.E.M.
19   Concepts, Inc., 126 Cal. App. 4th 1073, 1087 (2005) (assignee would have to pay
20   attorneys’ fees). In short, Mr. Trump cannot now attempt to insulate himself from paying
21   fees just because, facing certain defeat in court, he has now abandoned his attempt to
22   compel arbitration and silence Plaintiff.
23         G.     Even if Plaintiff’s Claims Are Moot, She Is Entitled To Recover Her
                  Attorneys’ Fees.
24
           Regardless of whether Plaintiff’s substantive claims are mooted, she is still entitled
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     to seek attorneys’ fees. “No Article III case or controversy is needed with regard to
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     attorneys’ fees as such, because they are but an ancillary matter over which the district
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     court retains equitable jurisdiction even when the underlying case is moot. Its jurisdiction
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 1   outlasts the ‘case or controversy.’” Zucker v. Occidental Petroleum Corp., 192 F.3d 1323,
 2   1329 (9th Cir. 1999); see also San Lazaro Ass’n, Inc. v. Connell, 286 F.3d 1088, 1096
 3   (9th Cir. 2002) (“Although San Lazaro’s substantive claims are moot, its entitlement to
 4   attorney's fees is not.”); Cammermeyer v. Perry, 97 F.3d 1235, 1238 (9th Cir. 1996). The
 5   cases cited by Defendants do not hold otherwise. See, e.g., Clear Channel Outdoor, Inc. v.
 6   Lee, No. C 08-2955 PJH, 2009 WL 57110, at *2 (N.D. Cal. Jan. 8, 2009) (no attorneys’
 7   fees where amount in controversy requirement not met); True Ctr. Gate Leasing, Inc. v.
 8   Sonoran Gate, L.L.C., 402 F. Supp. 2d 1093, 1101 (D. Ariz. 2005) (plaintiff would not be
 9   found prevailing party if the court did consider awarding fees).
10         By its terms, the attorneys’ fees provision is plainly applicable and provides for the
11   recovery of attorneys’ fees in any dispute over the “existence” or “validity” of the
12   Settlement Agreement. [Dkt. No. 14 Ex. 1 at ¶ 8.2] “[A] party who is denied direct relief
13   on a claim may nonetheless be found to be a prevailing party if it is clear that the party has
14   otherwise achieved its main litigation objective.” Hsu, 9 Cal. 4th at 877.
15         Thus, irrespective of whether the declaratory relief claim may now be considered
16   moot, Plaintiff has prevailed in her action to determine the existence or validity of the
17   Settlement Agreement. See de la Cuesta v. Benham, 193 Cal. App. 4th 1287, 1296 n. 6
18   (2011) (plaintiff is still prevailing party if defendant’s actions moot claim). Accordingly,
19   Plaintiff is still entitled to seek to recover her attorneys’ fees and the Court should not
20   prejudge or foreclose any such request.
21         H.     Any Dismissal Must Be Without Prejudice.
22         Finally, contrary to the demands of Defendants, should the Court dismiss Plaintiff’s
23   claims as moot, that dismissal must be made “without prejudice to refiling.” Del Monte
24   Int’l GMBH v. Del Monte Foods, Inc., 658 F. App’x 846, 849 (9th Cir. 2016); Segal v.
25   Am. Tel. & Tel. Co., 606 F.2d 842, 844 (9th Cir. 1979).
26   V.    CONCLUSION
27         For the foregoing reasons, Plaintiff respectfully requests the Court deny
28   Defendants’ Motions to Dismiss for Lack of Subject Matter Jurisdiction.

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     Dated: October 26, 2018             AVENATTI & ASSOCIATES, APC
 1

 2                                       By:         /s/ Michael J. Avenatti
                                               Michael J. Avenatti
 3                                             Ahmed Ibrahim
                                               Attorneys for Plaintiff Stephanie Clifford
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